              Case 1:19-cv-03264-EGS Document 9 Filed 01/15/20 Page 1 of 4



                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


    NATIONAL STUDENT LEGAL DEFENSE
    NETWORK,

                  Plaintiff,

                           v.                         Civil Action No. 19-3264 (EGS)

    UNITED STATES DEPARTMENT OF
    EDUCATION,

                 Defendant.


                           JOINT PROPOSED SCHEDULING ORDER

         Pursuant to the Court’s Minute Order entered on December 9, 2019, Plaintiff National

Student Legal Defense Network (“Plaintiff”) and Defendant the United States Department of

Education (“Defendant”) hereby provide the Court with the following Joint Proposed Scheduling

Order.

         1.      On October 30, 2019, Plaintiff filed a Complaint alleging violations of the Freedom

of Information Act (“FOIA”), 5 U.S.C. § 552, et seq. See ECF No. 1. On December 6, 2019,

Defendant filed an Answer responding to Plaintiff’s Complaint. See ECF No. 7.

         2.      Defendant does not anticipate that an Open America stay will be necessary in this

case, and the parties do not believe that this case would benefit from a referral to a magistrate judge

or the District Court Mediation Program for purposes of settlement. 1




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 The parties are not aware at this time whether a Vaughn index or dispositive motion briefing will
be necessary in this case, but will confer regarding those matters once Defendant’s response to
Plaintiff’s FOIA request is complete.
            Case 1:19-cv-03264-EGS Document 9 Filed 01/15/20 Page 2 of 4



       3.      Defendant is currently: (1) processing a first set of records located in response to

Plaintiff’s FOIA request; as well as (2) completing searches for records potentially responsive to

Plaintiff’s FOIA request.

       4.      Defendant provided an interim response letter and production of documents to

Plaintiff with respect to one of Plaintiff’s FOIA requests on December 12, 2019. The production

included 1,084 pages responsive to Plaintiff’s request. Plaintiff has raised issues concerning

Defendant’s use of redactions and requested that Defendant reproduce those documents. The

parties are currently engaged in discussions concerning Plaintiff’s request.

       5.      As searches for documents responsive to Plaintiff’s FOIA requests are ongoing and

Defendant does not yet know the total volume of potentially responsive records, Defendant cannot

propose a final production date for responsive documents at this time. Defendant states that, due

to a high volume of FOIA requests and a backlog of e-discovery requests within the agency,

Defendant cannot anticipate when its searches will be complete. However, once searches are

complete, Defendant will promptly confer with Plaintiff about a final production date for

responsive documents.

       6.      Although Defendant is not yet in a position to propose an overall processing

timeline, Defendant anticipates that it will make a second release to Plaintiff by February 18, 2020.

Defendant intends to make future interim releases with respect to Plaintiff’s FOIA requests on a

monthly basis. The parties agree that subsequent monthly rolling productions will be made by the




                                                 2
             Case 1:19-cv-03264-EGS Document 9 Filed 01/15/20 Page 3 of 4



20th day of the month, unless that day falls on a weekend or holiday, in which case the production

will be made by the next business day.

       7.       Although the parties agree that this matter should, in the first instance, proceed with

a processing schedule, the parties have been unable to reach an agreement with respect to the

number of documents to be processed and/or produced per month and therefore include alternate

proposed orders.

       8.       Plaintiff proposes that Defendant produce, in full or in part, at least 500 pages per

month. Plaintiff believes this production schedule to be reasonable, given that Plaintiff’s request

is limited to a single email address that is dedicated to a specific purpose and that Defendant has

been unable to complete a search of that email address to provide an estimate of potentially

responsive documents. Other courts have found similar processing schedules to be reasonable.

See, e.g., Order (ECF No. 18), Student Defense v. U.S. Dep’t of Educ., 1:18-cv-1464 (TNM) (Dec.

17, 2018).

       9.       Defendant proposes to process (i.e., produce in full or in part, or withhold in full)

at least 500 pages per month. Defendant states that its standard processing rate is 500 pages per

month and that Plaintiff’s demand for a higher rate of production amounts to a demand to be treated

more favorably than other FOIA requesters currently receiving rolling productions from Defendant

in litigation, which would be unfair in principle. Additionally, because Plaintiff’s proposal

excludes from the page count pages processed but withheld in full, Plaintiff’s proposed schedule

would establish an unpredictable and potentially varying production rate that would make it

difficult for Defendant to allocate appropriate resources to each month’s production.




                                                  3
         Case 1:19-cv-03264-EGS Document 9 Filed 01/15/20 Page 4 of 4



Dated: January 15, 2020

                              Respectfully submitted,

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                                        4
